             Case 2:11-cr-00428-JAM Document 60 Filed 01/26/12 Page 1 of 4


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 3   Facsimile: (916) 557-1118
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 4
     Attorney for: Bruce Goldsmith
 5
 6
               IN THE UNITED STATES DISTRICT COURT FOR THE
 7
 8                      EASTERN DISTRICT OF CALIFORNIA

 9
     UNITED STATES OF AMERICA,             )       Case No: 11-CR-428 GEB
10                                         )
11                      Plaintiff,         )       STIPULATION AND [PROPOSED]
                                           )       ORDER TO CONTINUE STATUS
12
                 v.                        )       CONFERENCE
13                                         )
14   SMITH et al.                          )
                                           )
15                      Defendants.        )
16                                         )
17
18         The defendants, Bryan Smith, Kelly Smith, Daniel Goldsmith, Bruce
19
     Goldsmith, Robert Klaus and Ryder Phillips, by and through their undersigned
20
21   counsels, and the United States, through its undersigned counsel, hereby agree and
22
     request the status conference currently set for Friday, January 27, 2012 at 9:00 am
23
24   be vacated and continued until Friday, March 9, 2012 at 9:00 am.
25
           This continuance is requested because plea offers were recently sent out by
26
27   the government and defense counsel needs additional time to review the offers,

28




                                               1
             Case 2:11-cr-00428-JAM Document 60 Filed 01/26/12 Page 2 of 4



 1   continue review of the voluminous discovery and meet with their respective
 2   clients, with an emphasis on determining whether to accept the offers.
 3
           The parties stipulate that time should be excluded under the Speedy Trial
 4
 5   Act due to the needs of counsel for continued case preparation. Local Code T4 &
 6
     18 U.S.C § 3161 (h)(7)(B)(iv).
 7
 8         I, William E. Bonham, the filing party, have received authorization from
 9
     AUSA Bender and co-counsel to sign and submit this stipulation and proposed
10
11   order on their behalf.
12
           Accordingly, the defense and the United States stipulate that the status
13
14   conference for defendants Bryan Smith, Kelly Smith, Daniel Goldsmith, Bruce

15   Goldsmith, Robert Klaus and Ryder Phillips, should be continued until Friday,
16
     March 9, 2011 at 9:00 am. The parties stipulate that the ends of justice served by
17
18   granting this continuance outweigh the best interests of the public and defendant
19
     in a Speedy Trial. 18 U.S.C. § 3161(h)(7)(A).
20
21   Dated: January25, 2012
                                           BENJAMIN B. WAGNER
22
                                           United States Attorney
23
24                                         By:/s/ WILLIAM E. BONHAM for
                                           RICHARD BENDER
25
                                           Assistant U.S. Attorney
26
27
     Dated: January25, 2012                By:/s/ WILLIAM E. BONHAM for
                                           MARK REICHEL
28                                         Counsel for Defendant Bryan Smith


                                              2
            Case 2:11-cr-00428-JAM Document 60 Filed 01/26/12 Page 3 of 4



 1
 2   Dated: January25, 2012            By:/s/ WILLIAM E. BONHAM for
 3                                     STEVEN BAUER
                                       Counsel for Defendant Kelly Smith
 4
 5   Dated: January 25, 2012           DANIEL J. BRODERICK
 6                                     Federal Defender
 7                                     WILLIAM E. BONHAM for
 8                                     TIMOTHY ZINDEL
 9
                                       Assistant Federal Defender
                                       Attorney for Defendant Daniel Goldsmith
10
11   Dated: January25, 2012            By:/s/ WILLIAM E. BONHAM for
                                       WILLIAM E. BONHAM
12
                                       Counsel for Defendant Bruce Goldsmith
13
14   Dated: January25, 2012            By:/s/ WILLIAM E. BONHAM for
                                       MICHAEL E. HANSEN
15                                     Counsel for Defendant Robert Klaus
16
     Dated: January25, 2012            By:/s/ WILLIAM E. BONHAM for
17
                                       A. STANLEY KUBOCHI
18                                     Counsel for Defendant Ryder Phillips
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             Case 2:11-cr-00428-JAM Document 60 Filed 01/26/12 Page 4 of 4



 1                                         ORDER
 2         IT IS SO ORDERED THAT THE status conference for defendants Bryan
 3
     Smith, Kelly Smith, Daniel Goldsmith, Bruce Goldsmith, Robert Klaus and Ryder
 4
 5   Phillips currently set for Friday, January27, 2012 at 9:00 am is vacated and re-set
 6
     to Friday, March 9, 2012 at9:00 am.
 7
 8         I find that the continuance is necessary due to the needs of counsel for
 9
     continued case preparation. Accordingly, time is excluded under the Speedy Trial
10
11   Act from January27, 2012 up to and including March 9, 2012, pursuant to Local
12
     Code T4 and 18 U.S.C. § 3161(h)(7)(B)(iv). I find that the ends of justice served
13
14   by granting this continuance outweigh the best interest of the public and defendant

15   in a speedy trial. 18 U.S.C. § 3161(h) (7)(A).
16
     Dated: 1/25/12
17
18                                       GARLAND E. BURRELL, JR.
                                         United States District Judge
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